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AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 1

                                          UNITED STATES DISTRICT COURT
                                                             District of New Mexico

                 UNITED STATES OF AMERICA                                 Judgment in a Criminal Case
                                                                          (For Revocation of Probation or Supervised Release)
                                   V.
                           Sheldon Howe                                   Case Number: 1:18CR01579-001MV
                                                                          USM Number: 97683-051
                                                                          Defendant’s Attorney: Wayne Baker

THE DEFENDANT:

☒    admitted guilt to violations of condition(s) Standard of the term of supervision.
☐    was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number                Nature of Violation                                                   Violation Ended

Standard Condition              The defendant failed to report to the probation office as             08/23/2024
                                instructed.


The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 .

☐ The defendant has not violated condition(s) and is discharged as to such violation(s) condition.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

5238                                                                     January 14, 2025
Last Four Digits of Defendant’s Soc. Sec. No.                            Date of Imposition of Judgment


1982                                                                     /s/ Martha Vazquez
Defendant’s Year of Birth                                                Signature of Judge




                                                                         Honorable Martha Vazquez
Albuquerque, NM                                                          Senior United States District Judge
City and State of Defendant’s Residence                                  Name and Title of Judge

                                                                         February 11, 2025
                                                                         Date
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                       Sheet 1A                                                                                  Judgment - Page 2 of 7



DEFENDANT: Sheldon Howe
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                                                     ADDITIONAL VIOLATIONS
Violation Number                Nature of Violation                                           Violation Ended

Standard Condition              The defendant failed to work full time (at least 30 hours per 08/23/2024
                                week) at a lawful type of employment.

Standard Condition              The defendant failed to notify the probation officer within   08/18/2024
                                72 hours of being arrested or questioned by law
                                enforcement.

Standard Condition              The defendant owned, possessed, or had access to a            08/18/2024
                                firearm, ammunition, destructive device, or dangerous
                                weapon.
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                       Sheet 2 - Imprisonment                                                                        Judgment - Page 3 of 7



DEFENDANT: Sheldon Howe
CASE NUMBER: 1:18CR01579-001MV

                                                              IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: 6 months or
upon a bed becoming available at the New Mexico Wellness inpatient treatment program, whichever is earlier. .



☐ The court makes the following recommendations to the Bureau of Prisons:




☒    The defendant is remanded to the custody of the United States Marshal.
☐    The defendant shall surrender to the United States Marshal for this district:
     ☐ at on .
     ☐ as notified by the United States Marshal.
☐    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
     ☐ before 2 p.m. on .
     ☐ as notified by the United States Marshal.
     ☐ as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




Defendant delivered on                                                                                        to
                                                  at                                with a certified copy of this judgment.




                                                                                   UNITED STATES MARSHAL

                                                                              By
                                                                                   DEPUTY UNITED STATES MARSHAL
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                       Sheet 3 Supervised Release                                                                              Judgment - Page 4 of 7



DEFENDANT: Sheldon Howe
CASE NUMBER: 1:18CR01579-001MV


                                                         SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: 18 months .

                                                         MANDATORY CONDITIONS

1.   You must not commit another federal, state, or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
        ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
               future substance abuse. (Check, if applicable.)
4.   ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.   ☒     You   must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable)
6.   ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state, local, or tribal sex offender registration agency in the location
           where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.   ☐ You must participate in an approved program for domestic violence. (Check, if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.

                                              STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release
     from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when
     you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the
     probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you
     from doing so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities),
     you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is
     not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or
     expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted
     of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation
     officer.
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9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
    getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may, after
    obtaining Court approval, require you to notify that person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.
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                       Sheet 5 – Special Conditions                                                    Judgment - Page 6 of 7


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                                          SPECIAL CONDITIONS OF SUPERVISION

You must not use or possess alcohol. You may be required to submit to alcohol testing that may include
urine testing, a remote alcohol testing system, and/or an alcohol monitoring technology program to
determine if you have used alcohol. Testing shall not exceed more than 4 test(s) per day. You must not
attempt to obstruct or tamper with the testing methods. You may be required to pay all, or a portion, of
the costs of the testing.

You must not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive
substances (e.g., synthetic cannabinoids, synthetic cathinones, etc.) that impair your physical or mental
functioning, whether or not intended for human consumption.

You must not possess, sell, offer for sale, transport, cause to be transported, cause to affect interstate
commerce, import, or export any drug paraphernalia, as defined in 21 U.S.C. 863(d).

You must participate in a mental health treatment program and follow the rules and regulations of that
program. The probation officer, in consultation with the treatment provider, will supervise your
participation in the program. You may be required to pay all, or a portion, of the costs of the program.

You shall waive your right of confidentiality and allow the treatment provider to release treatment
records to the probation officer and sign all necessary releases to enable the probation officer to monitor
your progress. The probation officer may disclose the presentence report, any previous mental health
evaluations and/or other pertinent treatment records to the treatment provider.

You must take all mental health medications that are prescribed by your treating physician. You may be
required to pay all, or a portion, of the costs of the program.

You must participate in an outpatient substance abuse treatment program and follow the rules and
regulations of that program. The probation officer will supervise your participation in the program
(provider, location, modality, duration, intensity, etc.). You may be required to pay all, or a portion, of
the costs of the program.

You shall waive your right of confidentiality and allow the treatment provider to release treatment
records to the probation officer and sign all necessary releases to enable the probation officer to monitor
your progress. The probation officer may disclose the presentence report, any previous substance abuse
evaluations and/or other pertinent treatment records to the treatment provider.

You must participate in an inpatient substance abuse treatment program. Following completion of the
inpatient program, you must participate in an outpatient substance abuse treatment program. You must
follow the rules and regulations of both programs, and the probation officer will supervise your
participation in both of these programs (provider, location, modality, duration, intensity, etc.). You may
be required to pay all, or a portion, of the costs of these programs.

You must submit to substance abuse testing to determine if you have used a prohibited substance. Testing
shall not exceed more than 60 test(s) per year. Testing may include urine testing, the wearing of a sweat
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patch, and/or any form of prohibited substance screening or testing. You must not attempt to obstruct or
tamper with the substance abuse testing methods. You may be required to pay all, or a portion, of the
costs of the testing.

You must submit to a search of your person, property, residence, vehicle, papers, computers (as defined
in 18 U.S.C. 1030(e)(1)), other electronic communications or data storage devices or media, or office
under your control. The probation officer may conduct a search under this condition only when
reasonable suspicion exists, in a reasonable manner and at a reasonable time, for the purpose of detecting
firearms, deadly weapons, controlled substances, and any other illegal contraband . You must inform any
residents or occupants that the premises may be subject to a search.

The inpatient substance abuse treatment program shall be New Mexico Wellness.

The defendant is required to maintain full-time employment.

Court encourages defense counsel to file a motion for early termination of supervision after the defendant
has completed a year of supervision with no violations.




U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Release Conditions,
available at: www.uscourts.gov.




   Defendant’s Signature                                                                      Date
